
McAdam, Ch. J.
Since the amendment to sections 549 and 550 of the Code, made in 1886 (ch. 672), the plaintiff, if he obtains an order to arrest the defendant on the ground ■of fraudulent disposition of property, must allege the facts in his complaint, or the arrest must be vacated (§ 558). "Where the arrest is applied for after the service of the «complaint, the court, “ before ” granting the order, may, without notice, direct the service of an amended complaint, *259so as to make the allegations conform to the Code requirement (§ 558, supra). The object of the amendment of 1886 was to change the rule previously existing, and to require the plaintiff to put into his complaint the allegations as to fraudulent dispositions of property that have in this instance been left out. The cases construing the provisions referred to prior to their amendment are inapplicable. The motion to vacate the order of arrest must therefore be granted, but without costs.
